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                [ORAL ARGUMENT NOT YET SCHEDULED]
                            No. 23-7061


              United States Court of Appeals
                   for the District of Columbia Circuit

                              ANDREW HANSON, ET AL.,
                               Plaintiffs-Appellants,
                                            v.
                           DISTRICT OF COLUMBIA, ET AL.,
                               Defendants-Appellees.


  ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
          DISTRICT OF COLUMBIA (NO. 22-CV-2256-RC)


   BRIEF FOR AMICI CURIAE MASSACHUSETTS, NEW JERSEY,
 CALIFORNIA, COLORADO, CONNECTICUT, DELAWARE, HAWAI‘I,
ILLINOIS, MAINE, MARYLAND, MICHIGAN, MINNESOTA, OREGON,
NEVADA, NEW YORK, PENNSYLVANIA, RHODE ISLAND, VERMONT,
AND WASHINGTON IN SUPPORT OF APPELLEES AND AFFIRMANCE


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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      (A) Parties and Amici: Except for Amicus Curiae United States Conference

of Mayors and Amici Curiae Massachusetts, New Jersey, California, Connecticut,

Colorado, Delaware, Hawai‘i, Illinois, Maine, Maryland, Michigan, Minnesota,

Nevada, New York, Oregon, Rhode Island, Pennsylvania, Vermont, and

Washington, all parties, intervenors, and amici appearing before the District Court

and in this Court are listed in the Brief for Appellees, Doc. No. 2022818.

      (B) Rulings Under Review: References to the rulings at issue appear in the

Brief for Appellants, Doc. No. 2014295, and the Brief for Appellees, Doc. No.

2022818.

      (C) Related Cases: Counsel for the Amici States is unaware of any related

cases within the meaning of Circuit Rule 28(a)(1)(C).
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                                GLOSSARY

LCM              Large-capacity magazine or “large capacity ammunition
                 feeding device,” as defined in D.C. Code § 7-2506.01(b).




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                     INTERESTS OF THE AMICI STATES

      The Amici States—Massachusetts, New Jersey, California, Colorado,

Connecticut, Delaware, Hawai‘i, Illinois, Maine, Maryland, Michigan, Minnesota,

Nevada, New York, Oregon, Rhode Island, Pennsylvania, Vermont, and

Washington—have compelling governmental interests in public safety and crime

prevention. In furtherance of those interests, and pursuant to Fed. R. App. P.

29(a)(2), we submit this brief to explain why the District of Columbia’s limitation

on the size of ammunition magazines that may be purchased and possessed within

its borders is wholly consistent with the Second Amendment to the United States

Constitution.

      There are few interests more paramount to state governments than protecting

public safety, and especially “the suppression of violent crime and vindication of its

victims.” United States v. Morrison, 529 U.S. 598, 618 (2000); see also United

States v. Salerno, 481 U.S. 739, 755 (1987). The Amici States bear the solemn

responsibility of ensuring the safety of the public and private spaces—the schools,

grocery stores, houses of worship, and commercial centers—that make up the fabric

of daily life in a free and democratic society. We work every day to promote our

residents’ health, welfare, and security, including by taking steps to curb the threats

of mass shootings and other forms of gun violence that harm our residents and inhibit

their exercise of constitutionally protected freedoms.
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      Exercising our police powers in service of these goals, the Amici States have

adopted a range of measures that regulate weapons and weapon accessories, while

ensuring that our residents have access to weapons for individual self-defense.

Although our regulations differ in substance, we share the firm conviction that our

Constitution allows States to address gun violence in a manner that is adapted to

individual States’ needs and consistent with our Nation’s historical traditions. In

accordance with these objectives, the Amici States urge this Court to affirm the

District Court’s conclusion that the District of Columbia’s limitation on the size of

ammunition magazines comports with the Constitution.

                      SUMMARY OF THE ARGUMENT

      The Second Amendment is “‘not a right to keep and carry any weapon

whatsoever in any manner whatsoever and for whatever purpose.’” New York State

Rifle & Pistol Ass’n v. Bruen, 142 S. Ct. 2111, 2128 (2022) (quoting District of

Columbia v. Heller, 554 U.S. 570, 626 (2008)). Recognizing that “reasonable

firearms regulations” can coexist comfortably with the Second Amendment,

McDonald v. City of Chicago, 561 U.S. 742, 785 (2010) (plurality op.), the States

have adopted a variety of restrictions on weapons and accessories that are not in

common use for self-defense. This case concerns one such law: the District of

Columbia prohibits the possession and sale of ammunition magazines capable of

holding more than ten rounds of ammunition, referred to here as “large-capacity



                                         2
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magazines” or “LCMs.” D.C. Code § 7-2506.01(b). Like similar laws around the

country that impose restrictions on certain types of accessories, ammunition, and

weapons themselves, the District’s LCM provision preserves the right of law-

abiding, responsible citizens to use firearms for self-defense. See Heller v. District

of Columbia, 670 F.3d 1244, 1262 (D.C. Cir. 2011) (“Heller II”), abrogated in part

on other grounds by Bruen, 142 S. Ct. 2111 (District’s LCM law “does not

effectively disarm individuals or substantially affect their ability to defend

themselves”). The law, which does not limit access to firearms or magazines that

can hold ten or fewer rounds, regulates only those large-capacity magazines that

“make it possible to fire a large number of rounds without re-loading, then to reload

quickly when those rounds are spent,” so that “a single person with a single

[semiautomatic] weapon can easily fire literally hundreds of rounds within minutes.”

H.R. Rep. No. 103-489, at 19 (1994).

      Employing the framework set forth in Bruen, the District Court correctly

concluded that the Plaintiffs-Appellants’ Second Amendment challenge to the

District’s law is not likely to succeed on the merits. Hanson v. District of Columbia,

__F.Supp.3d__, 2023 WL 3019777 (D.D.C. Apr. 20, 2023). That conclusion should

be affirmed. Large-capacity magazines are not “Arms” under the plain text of the

Second Amendment because they are not commonly used, nor are they useful, for

self-defense. And historical understandings of the term “Arms” did not encompass


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container accessories such as large-capacity magazines. Moreover, the District’s law

is “consistent with this Nation’s historical tradition of firearm regulation.” Bruen,

142 S. Ct. at 2126. From the early days of our Nation, governments have restricted

the manner in which ammunition may be stored and used, effectively imposing

limits on firepower, and have restricted novel forms of weaponry that pose unique

dangers to public safety. These analogous traditions amply justify the District’s

measured restriction on magazine capacity today.

                                  ARGUMENT
I.    To Promote the Safety and Well-Being of Our Residents, States Impose
      a Range of Restrictions, Including Prohibitions, on Dangerous
      Accessories and Weapons Not Commonly Used for Self-Defense.
      The Supreme Court has long been clear that the Second Amendment “extends

only to certain types of weapons.” Heller, 554 U.S. at 623-25. States and the federal

government retain latitude to regulate categories of weapons and accessories,

including by restricting public carry, possession, and sale of weapons that are not

commonly used for self-defense and that pose a threat to our communities. Indeed,

the Court has recognized the constitutionality of laws banning categories of

weapons—among them, “short-barreled shotguns” and “M-16 rifles and the like”—

because certain “type[s] of weapon[s]” are simply “not eligible for Second

Amendment protection.” Id. at 621-22, 625, 627 (emphasis removed).

      Consistent with that guidance, States have adopted a range of laws that impose

restrictions, including prohibitions, on certain categories of weapons and

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accessories. Laws like the District’s, which restrict accessories that cannot by

themselves be used for offensive or defensive purposes, but nevertheless enhance

the lethality of weapons, dot the national landscape. Fourteen States and the District

of Columbia restrict the size of ammunition magazines that may be used with

semiautomatic weapons, while allowing for possession and sale of smaller-capacity

magazines. 1 While 11 of these jurisdictions set a capacity limit at 10 rounds, others

set a higher capacity limit. 2 Eighteen jurisdictions and the federal government ban

bump stocks, trigger cranks, binary triggers, rapid-fire trigger activators, or other

devices used to approximate an automatic rate of fire with a semiautomatic weapon. 3

Silencers or suppressors, used to muffle the sound of a gun when it fires, are banned

in eight States and the District of Columbia4 and subject to restrictions or registration

requirements by the federal government and 20 more States.5




   1
    See Appendix Table 1. From 1994 to 2004, the federal government also banned
handgun and long-gun magazines capable of holding more than 10 rounds. See
Public Safety and Recreational Firearms Use Protection Act, Pub. L. No. 103-322,
108 Stat. 1998-2000, codified at 18 U.S.C. §§ 921(a), 922(w) (2000).
   2
       See id.
   3
     See Appendix Table 2. Courts have split on the lawfulness of the federal
regulations construing the statutory term “machine gun” to include bump stocks. See
Cargill v. Garland, 57 F.4th 447 (5th Cir. 2023), cert. petn. pending, No. 22-976;
Guedes v. ATF, 920 F.3d 1 (D.C. Cir. 2019) (per curiam), cert. denied, 140 S. Ct.
789 (2020).
   4
       See Appendix Table 3.
   5
       See Appendix Table 4.

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        States and the federal government also restrict the type and size of ammunition

that can be purchased or possessed. While all States allow for robust access to

ammunition, at least 26 jurisdictions prohibit especially dangerous forms of

ammunition. Twenty-one jurisdictions and the federal government prohibit the

possession or sale of bullets designed to penetrate metal or armor.6 Nine prohibit

ammunition designed to explode, detonate, or segment upon impact. 7 Multiple

jurisdictions prohibit certain large-caliber ammunition, usable with .50- or .60-

caliber weapons 8; hollow-point bullets, designed to expand in their target on

impact 9; and Flechette shells, expelled from guns as pieces of metal wire or dart-like

projectiles.10 Others ban certain forms of shotgun ammunition: “Dragon’s breath”

shells, used to simulate a flamethrower by making shotguns spew fireballs or

columns of flames, and bolo shells, designed as two or more metal balls connected

by a metal wire. 11

        States and the federal government also prohibit possession of certain types of

weapons that are not useful for or commonly used in self-defense. Like the federal



   6
       See Appendix Table 5.
   7
       See Appendix Table 6.
   8
       See Appendix Table 7.
   9
       See Appendix Table 8.
   10
        See Appendix Table 9.
   11
        See Appendix Table 10.

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government from 1994 to 2004, 12 nine States and the District of Columbia prohibit

the purchase or possession of semiautomatic assault weapons. 13 Although state

definitions of the prohibited class of weapons differ, they typically encompass

weapons like AR-15 and AK-47-style rifles that inflict catastrophic injuries and have

distinct combat capabilities, rendering them ubiquitous and uniquely devastating in

mass shootings.14 Thirteen jurisdictions ban automatic-fire machine guns, subject to

limited exceptions,15 while 26 States and the federal government ban machine guns

manufactured after May 19, 1986, require registration of machine guns owned

before that date, or impose other restrictions. 16 Nine States and the District of

Columbia also prohibit short-barreled shotguns or rifles, 17 while the federal

government and 22 other States impose restrictions on those weapons. 18 Four

jurisdictions prohibit high-caliber rifles, 19 five prohibit guns hidden in canes and

other covert weapons, 20 and 19 jurisdictions and the federal government ban


   12
     Public Safety and Recreational Firearms Use Protection Act, Pub. L. No. 103-
322, 108 Stat. 1996-2010, codified at 18 U.S.C. §§ 921(a), 922(v) (2000).
   13
        See Appendix Table 11.
   14
        See id.
   15
        See Appendix Table 12.
   16
        See Appendix Table 13.
   17
        See Appendix Table 14.
   18
        See Appendix Table 15.
   19
        See Appendix Table 16.
   20
        See Appendix Table 17.

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grenades, rocket launchers, or other hand-held destructive devices.21

           All told, across our country today, States and the federal government impose

restrictions, including prohibitions, on a diverse array of weapons, accessories, and

ammunition. The District of Columbia’s law restricting magazine capacity is of a

piece with this tapestry of regulation and, as discussed below, a long history of

governmental efforts to deter violence and promote public safety.

II.        The District’s Restriction on Magazine Capacity Comports with the
           Second Amendment.

           The District’s choice to limit magazine capacity to ten bullets is constitutional.

Under Bruen, courts must evaluate Second Amendment challenges by making two

inquiries. First, courts must ask if the Second Amendment right is implicated—i.e.,

whether its “plain text covers an individual’s conduct.” Bruen, 142 S. Ct. at 2126. If

it does not, “the regulated activity is categorically unprotected.” Id. Second, if the

conduct is protected, courts ask if the restriction nevertheless accords with “the

Nation’s historical tradition of firearm regulation.” Id. Under either step, the

District’s law is valid.

           A.    The Second Amendment Does Not Protect Large-Capacity
                 Magazines.

           Plaintiffs-Appellants cannot meet their threshold burden of showing that their

proposed conduct—to possess magazines that can hold more than 10 rounds—is


      21
           See Appendix Table 18.

                                               8
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protected by the Second Amendment. The Second Amendment’s “plain text” does

not protect using LCMs because under the Amendment’s “normal and ordinary

meaning” when it was ratified, LCMs are not bearable arms, and because LCMs are

not “common[ly] use[d] today for self-defense.” Bruen, 142 S. Ct. at 2126-27, 2134

(internal quotation marks omitted).

             i.     Large-Capacity Magazines Are Not Arms.

      The Second Amendment protects the right to “bear Arms.” But LCMs are

historically understood as accessories, not arms.

      As Heller explained, arms were defined at the Founding as “weapons” that

could be used “to cast at or strike another.” 554 U.S. at 581 (internal quotation marks

and citations omitted). Magazines—storage containers for bullets—cannot be so

used: “they generally have no use independent of their attachment to a gun[,] and

you can’t hurt anybody with one unless you hit them over the head with it.” Ocean

State Tactical v. Rhode Island, 646 F.Supp.3d 368, 386-87 (D.R.I. 2022) (cleaned

up), appeal pending, No. 23-1072 (1st Cir.).

      That magazines are not bearable arms is more than common-sense intuition.

As the District’s linguistics expert explains, historically, the term “Arms” was

reserved for weapons like blades and firearms. ECF No. 17-4, Hanson v. District of

Columbia, 22-cv-2256 (D.D.C.) (hereinafter ECF.[Docket Number]) (Baron Decl.

¶10); see also Ocean State Tactical, 646 F.Supp.3d at 387. And its meaning did not


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encompass the separate concept of accessories like cartridge boxes, scabbards, and

flint, which were historically referred to as “accoutrements.” ECF.17-4 (Baron Decl.

¶¶10, 29-66). Just as bullet-holders like cartridge boxes were considered

accoutrements and not arms historically, the same is true for bullet-holders like

LCMs now.

      In dismissing the arms-accoutrements distinction, the District Court

mistakenly conflated bullets with magazines. See Hanson, 2023 WL 3019777, at *7.

No one disputes that as “instruments … facilitat[ing] armed self-defense,” Bruen,

142 S. Ct. at 2132, bullets that are commonly used or useful for self-defense fit

within the Second Amendment. So “[w]ithout bullets, a firearm would be useless.

But a firearm can fire bullets without a detachable magazine, and in any event, a

firearm does not need a magazine containing more than ten rounds to be useful.”

Ocean State Tactical, 646 F.Supp.3d at 386 (emphasis in original). Using LCMs—

accessories, not arms—is simply not an act “necessary” to bearing arms. Luis v.

United States, 578 U.S. 5, 26 (2016) (Thomas, J., concurring in the judgment).

      The original public meaning of “Arms” excludes accessories like LCMs. See

Ocean State Tactical, 646 F.Supp.3d at 386-87; Brumback v. Ferguson, No. 22-cv-

03093, 2023 WL 6221425, at *8-9 (E.D. Wash. Sept. 25, 2023). Because the Second

Amendment’s plain text does not cover the use of LCMs, the District’s limit on that

use is constitutional.


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            ii.    Large-Capacity Magazines Are Not Commonly Used for
                   Self-Defense.

      Even if this Court were to assume that LCMs are arms rather than

accoutrements, the Second Amendment does not protect their use for another,

independent reason: LCMs are not “‘in common use’ today for self-defense.” Bruen,

142 S. Ct. at 2134 (quoting Heller, 554 U.S. at 627).

      Relying on reams of record evidence, the District Court rightly concluded that

LCMs were not and are not commonly used for self-defense. Hanson, 2023 WL

3019777, at *8-12. In fact, they are “most useful in military service,” like “M-16

rifles and the like,” which “may be banned.” Heller, 554 U.S. at 627. As the

District’s unrebutted historical expert evidence demonstrates, from the Founding

through Reconstruction, “high-capacity firearms went almost exclusively to military

buyers.” ECF.17-9 (DeLay Decl. ¶23). By the 1870s, “detachable magazines were

still decades away from practical success.” Id. (DeLay Decl. ¶25). And even today,

as Plaintiffs-Appellants’ own expert concedes, “magazines holding more than 10

rounds are most useful in the military … context.” ECF.24-6 (Murphy Decl. ¶9).

      The data agree: LCMs are not normally used for self-defense. Plaintiffs-

Appellants’ own experts agree with defense experts that the average number of

rounds fired in self-defense incidents is fewer than 3. See ECF.24-8 (Werner Decl.

¶10); ECF.24-6 (Murphy Decl. ¶8). Indeed, the record “shows that [civilians] simply

did not need the extra ammunition in … LCM[s] for self-defense.” Hanson, 2023

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WL 3019777, at *11. Historically and empirically, LCMs are military instruments—

not those “that facilitate armed self-defense.” Bruen, 142 S. Ct. at 2132.

      Ignoring that conclusion, Plaintiffs-Appellants focus on only half the

equation. LCMs, they claim, are commonly owned. See Appellants’ Br. at 20-21.

But this Court has never held—nor have Plaintiffs-Appellants shown—that they “are

commonly used or are useful specifically for self-defense.” Heller II, 670 F.3d at

1261 (emphasis added). And “self-defense” is the Second Amendment’s “central

component.” Bruen, 142 S. Ct. at 2133 (emphasis in original) (citation omitted).

Without offering evidence on this central constitutional component, Plaintiffs-

Appellants have not met their burden to establish that LCMs are constitutionally

protected “Arms”.

      Nor can Plaintiffs-Appellants transform an assertion of common ownership

into constitutional protection. If the government limits a particular handgun the

moment it hits the market, the resulting scarcity of that handgun would not make

prohibiting its use constitutional. See Friedman v. City of Highland Park, 784 F.3d

406, 409 (7th Cir. 2015) (“[I]t would be absurd to say that the reason why a particular

weapon can be banned is that there is a statute banning it, so that it isn’t commonly

owned.”). Conversely, the widespread ownership of machine guns would not make

prohibiting their use unconstitutional. See Del. State Sportsmen’s Ass’n, Inc. v. Del.

Dep’t of Safety & Homeland Sec., __F.Supp.3d__, No. 22-951, 2023 WL 2655150,


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at *5 (D. Del. Mar. 27, 2023), appeal pending, No. 23-1633 (3d Cir.). Holding

otherwise “would be a startling reading” of the Second Amendment, because

“weapons that are most useful in military service … may be banned.” Heller, 554

U.S. at 624, 627. At bottom, “relying on how common a weapon is at the time of

litigation [is] circular.” Friedman, 784 F.3d at 409. 22 Instead, as this Court

recognized in Heller II, 670 F.3d at 1261, courts must consider the “nature” of a

weapon’s use as an instrument of self-defense. Oregon Firearms Fed’n, Inc. v.

Brown, 644 F.Supp.3d 782, 800 n.13 (D. Or. 2022).

        The District Court rightly held that the nature of LCMs is not to facilitate self-

defense. In doing so, it joined a host of other courts post-Bruen that have come to

the same conclusion. See, e.g., Ocean State Tactical, 646 F.Supp.3d at 390; Kotek,

2023 WL 4541027, at *34; Nat’l Ass’n for Gun Rights v. Lamont, __F.Supp.3d__,

No. 22-cv-1118, 2023 WL 4975979, at *19-26 (D. Conn. Aug. 3, 2023), appeal

pending, No. 23-1162 (2d Cir.); but see Duncan, 2023 WL 6180472, at *10-12.


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      Similarly, it cannot suffice that many own LCMs “with the subjective intention
of using [them] for self-defense.” Duncan v. Bonta, No. 17-cv-1017, 2023 WL
6180472, at *12 (S.D. Cal. Sept. 22, 2023), stay granted pending appeal, 83 F.4th
803 (9th Cir. 2023). Otherwise, it would be enough for Americans to believe that
machine guns are tools of self-defense, even when they are not in fact so used.
Subjective expectations alone do not dictate the parameters of constitutional rights.
See Oregon Firearms Fed’n v. Kotek, __F.Supp.3d__, No. 22-cv-01815, 2023 WL
4541027, at *30-32 (D. Or. July 14, 2023), appeal pending, No. 23-35479 (9th Cir.)
(collecting cases). After all, “[o]ur expectations … are in large part reflections of
laws that translate into rules the customs and values of the past and present.” United
States v. White, 401 U.S. 745, 786 (1971) (Harlan, J., dissenting).

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                                        ***

      The Second Amendment does not protect the use of LCMs. As accessories

unnecessary to the functioning of any weapon, LCMs are accoutrements, not

“Arms,” as that term was historically understood. And even if they were “Arms,”

the record clearly shows that they are not commonly used for self-defense. This

Court can and should affirm on these grounds.

      B.     The District’s Magazine Capacity Restriction Is Analogous to the
             Historical Practices of Regulating the Storage of Ammunition and
             Imposing Restrictions on New, and Distinctly Dangerous, Forms
             of Weaponry.

      Should this Court nevertheless assume that large-capacity magazines are

protected “Arms,” it should affirm the District Court’s alternate conclusion that there

exists a longstanding tradition of restrictions that is relevantly similar to the

District’s present-day enactment.

      1. Restrictions on protected arms are constitutional if the government can

demonstrate that such restrictions are “consistent with the Nation’s historical

tradition of firearm regulation.” Bruen, 142 S. Ct. at 2129-30. While the Supreme

Court has left open the question whether a court should “primarily” look to

Founding-era or Reconstruction-era history in evaluating the Nation’s traditions, id.

at 2138, Bruen and Heller compel the conclusion that courts must consider the broad

sweep of our country’s history—including nineteenth- and twentieth-century

history—when reviewing the constitutionality of a state law.


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      In both Heller and Bruen, the Court thoroughly examined eighteenth- and

nineteenth-century statutes and case law in assessing the constitutionality of the

challenged laws. See Bruen, 142 S. Ct. at 2142-56; Heller, 554 U.S. at 600-19. The

Court made clear that post-ratification history is not only relevant, but a “critical tool

of constitutional interpretation” that elucidates “the public understanding of a legal

text in the period after its enactment or ratification.” Heller, 554 U.S. at 605

(emphasis removed); see Bruen, 142 S. Ct. at 2136 (same). Heller conducted an

extensive review of post-ratification sources from 1803 to 1891, see 554 U.S. at 605-

19, and Bruen did likewise through 1890, see 142 S. Ct. at 2145-54.

      This comprehensive approach accords with governing first principles. States

are “bound to respect the right to keep and bear arms because of the Fourteenth

Amendment,” ratified in 1868, “not the Second” Amendment, ratified in 1791.

Bruen, 142 S. Ct. at 2137. The public understanding of the scope of constitutional

rights shared by those who adopted the Fourteenth Amendment must therefore carry

significant weight in the historical analysis. See Heller, 554 U.S. at 634-35

(“Constitutional rights are enshrined with the scope they were understood to have

when the people adopted them.”). Courts recognize that, “when state- or local-

government action is challenged, … the Second Amendment’s scope as a limitation

on the States depends on how the right was understood when the Fourteenth

Amendment was ratified.” Ezell v. City of Chicago, 651 F.3d 684, 702 (7th Cir.


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2011). And it would make little constitutional sense for a different rule to apply to

firearm restrictions enacted by the District. Cf. Bruen, 142 S. Ct. at 2137 (“[W]e

have made clear that individual rights enumerated in the Bill of Rights and made

applicable against the States through the Fourteenth Amendment have the same

scope as against the Federal Government.”).

      Bruen also explained that “‘a regular course of practice can liquidate & settle

the meaning of disputed or indeterminate terms & phrases’ in the Constitution.” 142

S. Ct. at 2136 (quoting Chiafalo v. Washington, 140 S. Ct. 2136, 2326 (2020)). A

governmental practice not directly contrary to the text of the Constitution may thus

“‘guide [a court’s] interpretation of an ambiguous constitutional provision,’”

particularly where the practice “‘has been open, widespread, and unchallenged since

the early days of the Republic.’” Id. at 2137 (quoting NLRB v. Noel Canning, 573

U.S. 513, 572 (2014) (Scalia, J., concurring in the judgment)). Bruen itself offered

an example of such liquidation: while the Second Amendment’s text does not speak

directly to the constitutionality of laws prohibiting firearms in sensitive places, the

Court was “aware of no disputes regarding the lawfulness of” such enactments

during the eighteenth and nineteenth centuries, so the Court “assume[d] it settled

that” governments can constitutionally prohibit firearms in certain sensitive places.

142 S. Ct. at 2133.

      Twentieth-century history bears on the historical inquiry for the same reason.


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While twentieth-century history that “contradicts earlier evidence” is not probative,

Bruen, 142 S. Ct. at 2154 n.28, the Supreme Court has relied on twentieth-century

history in its Second Amendment rulings. In Heller, the Court characterized laws

that originated in the twentieth century—among them, laws banning people with

felony convictions or mental illness from possessing weapons—as “longstanding”

and “presumptively lawful.” 554 U.S. at 626-27 & n.26; see United States v. Booker,

644 F.3d 12, 23-24 (1st Cir. 2011) (“[T]he modern federal felony firearm

disqualification law … is firmly rooted in the twentieth century.”). Similarly, “Heller

deemed a ban on private possession of machine guns to be obviously valid,” but

“states didn’t begin to regulate private use of machine guns until 1927.” Friedman,

784 F.3d at 408. The presumptive lawfulness of these twentieth-century measures

was reaffirmed by a majority of the Court in Bruen. See 142 S. Ct. at 2157 (Alito, J.,

concurring); id. at 2162 (Kavanaugh, J., concurring, joined by Roberts, C.J.); id. at

2189 (Breyer, J., dissenting, joined by Sotomayor and Kagan, JJ.). 23


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      In addressing the scope of the Second Amendment, Bruen and Heller also
“repeatedly compared the right to keep and bear arms” to the right to free speech,
noting that “the government must generally point to historical evidence about the
reach of the First Amendment’s protections.” Bruen, 142 S. Ct. at 2130 (citing
United States v. Stevens, 559 U.S. 460, 468-71 (2010)) (emphasis in original). When
analyzing whether categories of speech fall outside the scope of the First
Amendment, the Supreme Court has looked beyond Founding-era history to laws
and practices that predominated in the nineteenth and twentieth centuries. See, e.g.,
Roth v. United States, 354 U.S. 476, 484-85 (1957) (looking to “the international
agreement of over 50 nations,” “the obscenity laws of all of the 48 States,” and “the
                                                                (footnote continued)

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      Furthermore, as the District Court perceived, twentieth-century history can be

uniquely probative in cases involving emergent weapons that did not become widely

publicly available until the last century. Hanson, 2023 WL 3019777, at *16. The

absence of eighteenth- and nineteenth-century legislative enactments addressing

such weapons cannot mean there exists no historical tradition of comparable

regulation, because there would have been scant reason for States to regulate the

weapons during those eras. This case is a prime example: in the eighteenth century,

firearms that could accept more than 10 rounds were “little more than experimental

curiosities,” and in the nineteenth, those weapons “went almost exclusively to

military buyers,” such that “very few were in the hands of private persons who might

use them in ways that attracted regulatory attention.” ECF.17-9 (DeLay Decl. ¶¶7,

23-25). Just as “[t]he First Amendment does not require States to regulate for

problems that do not exist,” neither does the Second Amendment impose such a non-

sensical burden. McCullen v. Coakley, 573 U.S. 464, 481 (2014) (citation omitted).

Moreover, the Constitution does not require States to legislate to the zenith of their

authority by, for example, restricting curio weapons that have yet to pose a public-

safety problem; rather, the Constitution allows States the flexibility to “adopt laws



20 obscenity laws enacted by the Congress from 1842 to 1956” in holding obscene
speech unprotected); Beauharnais v. Illinois, 343 U.S. 250, 254-56 (1952) (focusing
on contemporary criminal codes of the States as well as colonial-era criminal codes
and legal developments in the decades after ratification in concluding that libel is
not protected speech).

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to address the problems that confront them.” Id.; see also Williams-Yulee v. Florida

Bar, 575 U.S. 433, 449 (2015) (“A State need not address all aspects of a problem

in one fell swoop; policymakers may focus on their most pressing concerns.”).

      This Court thus may, and should, consider nineteenth- and twentieth-century

practice in assessing Second Amendment challenges to state and municipal laws.

      2. Laws that restrict magazine capacity derive from a long tradition of

regulating uniquely dangerous weapons, accessories, gunpowder, and ammunition

that posed an inordinate public safety risk upon their emergence in the commercial

market.

      To determine whether a challenged statute is consistent with a historical

tradition of firearms regulation, courts must reason by analogy. Bruen, 142 S. Ct. at

2131-32. Cases like this that implicate “unprecedented societal concerns or dramatic

technological changes” demand a “nuanced” approach to analogical reasoning, one

that looks to whether, over the course of history, there have existed “relevantly

similar” analogues. Id. at 2132 (citing C. Sunstein, On Analogical Reasoning, 106

HARV. L. REV. 741, 773 (1993)). While the Court did not “provide an exhaustive

survey of the features that render regulations relevantly similar,” it made clear that

“Heller and McDonald point toward at least two metrics: how and why the

regulations burden a law-abiding citizen’s right to armed self-defense.” Id. at 2132-

33 (stressing that “individual self-defense is the central component of the Second


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Amendment right” (quotation marks omitted)). In applying these metrics, courts

must bear in mind that the analogical inquiry is not a “regulatory straightjacket,” and

a modern-day regulation need not be a “dead ringer for historical precursors” to be

“analogous enough to pass constitutional muster.” Id. at 2133. 24

        From the colonial period through the nineteenth century, States and

municipalities adopted measures that, like the District’s present-day law, limited the

amount of gunpowder or ammunition that could be kept in one place or one

container. See S. Cornell & N. DeDino, A Well Regulated Right: The Early

American Origins of Gun Control, 73 FORDHAM L. REV. 487, 511 (2004) (“Limits

on the amount of gunpowder a person could possess were common and typically in

the range of twenty to thirty pounds.”); R. Spitzer, Gun Law History in the United

States and Second Amendment Right, 80 LAW & CONTEMP. PROBS. 55, 80-81 (2017)

(summarizing gunpowder storage laws). A 1783 Massachusetts law imposed a fine

on “any Person” who “shall take into any [house or building] within the Town of

Boston, any … Fire-Arm, loaded with, or having Gun-Powder.” 1782 Mass. Acts

119, ch. 46. In 1784, New York required separating gunpowder in the home “into

four stone jugs or tin cannisters, which shall not contain more than seven pounds


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      That nuanced approach accords with how analogical reasoning is described in
the scholarly sources upon which Bruen relied. See 142 S. Ct. at 2132. For example,
as Cass Sunstein’s study explained, analogical reasoning is similar to common-law
reasoning, with “the important advantage of allowing a large degree of openness to
new facts and perspectives.” Sunstein, supra, at 782.

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each.” Act of Apr. 13, 1784, ch. 28, 1784 N.Y. Laws 627, 627. Throughout the

1780s, Pennsylvania laws “required that gunpowder be stored on the highest story

of the home” in certain towns. Heller, 554 U.S. at 686 (Breyer, J., dissenting).

Similar laws were adopted well into the nineteenth century, and the Amici States are

not aware of court decisions invalidating them. E.g., 1882 Mass. Acts 212, ch. 269

(requiring registration of gunpowder in excess of one pound stored in buildings);

1771-72 Mass. Province Laws 167, ch. 9 (requiring gunpowder imported into

Massachusetts to be stored in public magazines); see also 1832 Conn. Acts 391,

ch. 25; 1825 N.H. Laws 73, ch. 61; 1821 Maine Laws 98, ch. 25; 1772 N.Y. Laws

682, ch. 1549; 1852 Tenn. Acts 246, ch. 169.

      These gunpowder storage antecedents are relevantly similar to the District’s

magazine-capacity limit in how and why they burden the right to armed self-defense.

With respect to how: both sets of laws limit the quantity of ammunition that may be

kept in one location or one type of container, thereby restricting the amount of

firepower that can be generated, but do not ban an entire class of arms or effectively

prohibit citizens from carrying firearms for self-defense. Contra Bruen, 142 S. Ct.

at 2156; Heller, 554 U.S. at 628. The District’s magazine restriction is, in fact, less

restrictive than many of these antecedents, because it limits only the number of

rounds in any single magazine, not the amount of ammunition or the number of

magazines a gun owner may possess.


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      The gunpowder-storage laws and the District’s magazine-capacity limitation

are also relevantly similar in why they burden the right to armed self-defense: they

seek to forestall tragedy wrought by aggregations of ammunition far in excess of

what is needed for self-defense. See Cornell & DeDino, supra, at 512 (the

gunpowder storage laws “were clearly crafted to meet the needs of public safety, but

they also provided a check on the creation of a private arsenal”); Heller II, 670 F.3d

at 1263-64 (District’s LCM ban enacted because LCMs “greatly increase the

firepower of mass shooters,” “are dangerous in self-defense situations,” and “pose a

danger to innocent people and particularly to police officers”). Reflecting the

measured nature of these enactments, the Supreme Court has recognized that

gunpowder-storage laws “do not remotely burden the right of self-defense as much

as an absolute ban on handguns,” Heller, 554 U.S. at 632, and this Court has

similarly explained that laws banning LCMs—including the very law at issue here—

do “not effectively disarm individuals or substantially affect their ability to defend

themselves,” Heller II, 670 F.3d at 1262.

      The District’s magazine-capacity restriction is also relevantly similar to the

longstanding practice of regulating novel, and unusually dangerous, weapons and

accessories that contribute to crime without a corresponding utility for self-defense.

This tradition followed a predictable pattern: first, new weapons technologies were

developed; second, they spread into society and created a public safety threat; and


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third, governments enacted regulations to dampen weapons-related criminality and

violence. In the early nineteenth century, States increasingly began imposing

restrictions on weapons like Bowie knives 25 and pocket pistols 26 that were

contributing to rising murder rates. See ECF.17-10 (Spitzer Decl. ¶¶42-56); Aymette

v. State, 21 Tenn. 154, 158 (1840) (in upholding law banning sale and concealed

carry of Bowie knives, distinguishing between protected weapons and “weapons

which are usually employed in private broils, and which are efficient only in the

hands of the robber and the assassin”). Many of the laws prohibited concealed carry

of these weapons, and some, like Arkansas’s and Tennessee’s postbellum statutes

regulating pocket pistols, likewise banned sales. See An Act to Prevent the Sale of

Pistols, ch. 96, § 1, 1879 Tenn. Acts 135-36; 1881 Ark. Acts 191, no. 96, § 3.

        During the 1920s and 1930s, the Nation witnessed a new wave of regulation

of emergent weapons that threatened public safety. During this era, “at least 32 states

enacted anti-machine gun laws” which prohibited or regulated automatic-fire

weapons. ECF.17-10 (Spitzer Decl. ¶12). Similarly, Congress enacted the first




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     See, e.g., 1837 Ga. Acts. 90, § 1; Ch. 77, § 2, 1837 Ala. Laws 7, 7; No. 24 § 1,
1838 Fla. Laws 36, 36; Ch. 137, §§ 1-2, 1837-38 Tenn. Acts 200; Ch. 101, § 1, 1838
Va. Acts 76, 76; Ch. 77, § 1, 1839 Ala. Laws 67, 67.
   26
      See, e.g., 1819 Ind. Acts 39; 1821 Tenn. Acts ch. 13, p. 15; W. Ball, Revised
Statutes of the State of Arkansas, Adopted at the October Session of the General
Assembly of Said State, A.D. 1837, § 13, 280 (1838); Ch. 101, § 1, 1838 Va. Acts
76, 76.

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nationwide firearms regulation statute, the National Firearms Act of 1934, to restrict

machine guns, short-barreled shotguns, and other dangerous weapons. Id. ¶14; Pub.

L. No. 73-474. During these decades, a number of jurisdictions also banned or

otherwise restricted high-capacity semiautomatic weapons shortly after they began

to proliferate, typically in the same legislation that established the accepted tradition

of banning machine guns. ECF.17-10 (Spitzer Decl. ¶17); see also Heller II, 670

F.3d at 1270 (Kavanaugh, J., dissenting) (machine guns “have traditionally been

banned”).27 In the same era, regulations limiting magazine capacity were also

common: twenty-three States imposed some limitation, typically restricting the

number of rounds to between five and eighteen.28

        This tradition of regulating unusually dangerous weapons and accessories is

relevantly similar to the District’s large-capacity magazine law in how and why the

enactments burden the right to armed self-defense. With respect to how: both types

of measures regulate specific dangerous weapons or accessories used for criminal



   27
      See An Act to Regulate and License the Selling, Purchasing, Possessing and
Carrying of Certain Firearms, no. 372 § 3, 1927 Mich. Pub. Acts 888, 888-89; Ch.
1052 §§ 1, 4, 1927 R.I. Pub. Laws 256, 256-57; An Act to Control the Possession,
Sale, Transfer, and Use of Pistols and Other Dangerous Weapons in the District of
Columbia, Pub. L. No. 72-275, 47 Stat. 650, 650 (1932); Ch. 190, § 1, 1933 Minn.
Laws 231, 232; Ch. 96, 1934 Va. Acts 137-40.
   28
     See, e.g., 1933 Cal. Stat. 1169, 1170; No. 80, § 1, 1932 La. Acts 336, 337; An
Act to Regulate the Sale, Possession and Transportation of Machine Guns, no. 18,
§§ 1-2, 1931 Ill. Laws 452-53; An Act to Prohibit the Use of Machine Guns and
Automatic Rifles in Hunting, ch. 235, § 5711, 1923 Vt. Acts and Resolves 930.

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and other violent purposes, rather than standard weapons of self-defense. Unlike the

laws at issue in Heller and Bruen, the enactment at issue here, like its historical

antecedents, does not amount to a ban on an entire class of arms or effectively

prohibit citizens from carrying firearms for self-defense. Contra Bruen, 142 S. Ct.

at 2156; Heller, 554 U.S. at 628; see Heller II, 670 F.3d at 1261-62 (District’s LCM

ban does “not prohibit the possession of ‘the quintessential self-defense weapon,’ to

wit, the handgun” (quoting Heller, 554 U.S. at 629)).

      The analogical reasoning prescribed by Bruen does not require that a historical

tradition be the same “type” of regulation as the modern one, nor does it suggest that

the only analogue for a weapon-specific ban is another weapon-specific ban. Rather,

Bruen and Heller both relied on the degree of burden when evaluating proposed

historical analogues. See Bruen, 142 S. Ct. at 2145 (examining whether analogues

imposed a comparably “substantial burden”); Heller, 554 U.S. at 632 (similar). And,

as this Court has held, the District’s law imposes, at most, a modest burden on the

right to self-defense. Heller II, 670 F.3d at 1262 (LCM bans “impose only modest

burdens [b]ecause they do leave open ample alternative channel[s]” for self-

defense). Indeed, as the record below establishes, large-capacity magazines are

virtually never used for self-defense. See supra, at 11-14. In the same way, the

tradition of regulating specific and particularly dangerous weapons used for

criminality likewise did not meaningfully burden self-defense capabilities.


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      The purpose of the District’s law is also relevantly similar to the purpose of

this tradition of regulation: to enhance public safety in the face of new weapon

technology that has threatened, or already inflicted, significant harm on American

citizens. The Bowie-knife restrictions of the early 1800s, for example, were intended

“to promote personal security, and to put down lawless aggression and violence.”

State v. Reid, 1 Ala. 612, 617 (1840). And the early twentieth-century regulation of

machine guns and semiautomatic weapons stemmed from concern over the “growth

of armed gangsterism [that] resulted in the use of more deadly weapons by

criminals.” J. Brabner-Smith, Firearm Regulation, 1 LAW & CONTEMP. PROBS. 400,

405 (1934). Modern-day laws restricting magazine capacity are likewise a response

to the proliferation of these accessories in a contemporary form of lawlessness and

violence: mass public shootings. See H.R. Rep. No. 103-489, at 19 (1994); Heller II,

670 F.3d at 1263-64. Courts have widely recognized that because large-capacity

magazines were designed for military use and to inflict exceptionally high mortality

rates and rates of injury, they have been the “weapons of choice in many of the

deadliest mass shootings in recent history.” Worman v. Healey, 922 F.3d 26, 39 (1st

Cir. 2019), abrogated on other grounds by Bruen, 142 S. Ct. 2111; accord Ass’n of

N.J. Rifle & Pistol Clubs, Inc. v. Att’y Gen. of New Jersey, 910 F.3d 106, 118 (3d

Cir. 2018), abrogated on other grounds by Bruen, 142 S. Ct. 2111; Kolbe v. Hogan,

849 F.3d 114, 126-27 (4th Cir. 2017) (en banc), abrogated on other grounds by


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Bruen, 142 S. Ct. 2111; New York State Rifle & Pistol Ass’n v. Cuomo, 804 F.3d

242, 262-63 (2d Cir. 2015), abrogated on other grounds by Bruen, 142 S. Ct. 2111;

Friedman, 784 F.3d 411; Heller II, 670 F.3d at 1262-64.

         In choosing to restrict the capacity of magazines within its borders, the District

of Columbia acted to prevent these harms, without correspondingly burdening the

right to self-defense. Its choice is consistent with a long tradition of relevantly

similar historical antecedents, and it comports fully with the Second Amendment.

                                     CONCLUSION
         For the foregoing reasons, this Court should affirm the order of the District

Court.


Respectfully submitted,

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                     CERTIFICATION OF COMPLIANCE

       1.     This brief complies with the type-volume limitation of Fed. R. App. P.
29(a)(5) and 32(a)(7)(B) because this brief contains 6,496 words, excluding the parts
of the brief exempted by Fed. R. App. P. 32(f).

       2.    This brief complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this
brief has been prepared in a proportionally spaced typeface using Microsoft Word
365 in 14-point Times New Roman font.


                                       /s/ Robert E. Toone
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Dated: October 26, 2023




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                          CERTIFICATION OF SERVICE

      On October 26, 2023, the undersigned caused this brief to be filed with the

Clerk of the United States Court of Appeals for the District of Columbia Circuit via

electronic filing. I further certify that all participants in the case are registered

CM/ECF users and that service will be accomplished by the CM/ECF system.


                                       /s/ Robert E. Toone
                                       Robert E. Toone
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                                       Massachusetts Attorney General’s Office
Dated: October 26, 2023




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                                    APPENDIX

                 Table 1: Laws Restricting Magazine Capacity

The following jurisdictions restrict the quantity of rounds able to be fired from a
single magazine as part of their firearm safety laws.

 Jurisdiction                Jurisdictional Law

        California           Cal. Penal Code §§ 16740, 32310.


        Colorado             Colo. Rev. Stat. §§ 18-12-301, 302, 303.


       Connecticut           Conn. Gen. Stat. § 53-202w(a)(1).


        Delaware             Del. Code Ann. tit. 11, §§ 1468, 1469(a).


   District of Columbia      D.C. Code § 7-2506.01(b).


          Hawaii             Haw. Rev. Stat. Ann. § 134-8(c).


          Illinois           720 Ill. Comp. Stat. 5/24-1.10.


        Maryland             Md. Code Ann., Crim. Law § 4-305(b).


      Massachusetts          Mass. Gen. Laws ch. 140, §§ 121, 131M.


       New Jersey            N.J. Stat. Ann. §§ 2C:39-1(y), 2C:39-3(j).


        New York             N.Y. Penal Law § 265.02(8).




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          Oregon              2022 Oregon Ballot Measure 114, § 11.


      Rhode Island            R.I. Gen. Laws §§ 11-47.1-2, 11-47.1-3.


         Vermont              Vt. Stat. Ann. Tit. 13, § 4021.


       Washington             Wash. Rev. Code §§ 9.41.010(22), 9.41.370.



            Table 2: Laws Banning Rate-of-Fire Enhancing Devices

The following jurisdictions ban the possession of bump stocks, trigger cranks,
trigger activators, and other devices designed to artificially increase the rate of fire
for semi-automatic weapons as part of their firearm safety laws.

 Jurisdiction                 Jurisdictional Law

          Federal             18 U.S.C. §§ 921(a)(24), 922(o);
                              26 U.S.C. § 5845(b);
                              27 C.F.R. 447.11, 478.11, 479.11.

        California            Cal. Penal Code § 32900.


       Connecticut            Conn. Gen. Stat. § 53-206g.


         Delaware             Del. Code tit. 11, §§ 1444(a)(6), (b)(2).


   District of Columbia       D.C. Code Ann. § 22-4514(a).


          Florida             Fla. Stat. § 790.222.




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         Hawaii         Haw. Rev. Stat. Ann. § 134-8.5.


         Illinois       720 Ill. Comp. Stat. 5/24-1(a)(14).


          Iowa          Iowa Code § 724.29.


       Maryland         Md. Code Ann., Crim. Law §§ 4-301, 4-305.1(a).


     Massachusetts      Mass. Gen. Laws ch. 140, §§ 121, 131(o); Mass. Gen.
                        Laws ch. 269, § 10(c).

        Michigan        Mich. Comp. Laws § 750.224e.


       Minnesota        Minn. Stat. § 609.67.


        Nevada          Nev. Rev. Stat. Ann. § 202.274.


       New Jersey       N.J. Stat. Ann. §§ 2C:39-1(ee)-(ff), 2C:39-3(l).


       New York         N.Y. Penal Law § 265.02(2).


        Oregon          Or. Rev. Stat. § 480.070.


      Pennsylvania      18 Pa. Cons. Stat. Ann. §§ 908(a), (c).


      Rhode Island      R.I. Gen. Laws §§ 11-47-2(3), (19), 11-47-8(d), 11-
                        47-8.1.

        Vermont         Vt. Stat. Ann. tit. 13, § 4022.



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         Virginia           Va. Code Ann. § 18.2-308.5:1.


       Washington           Wash. Rev. Code §§ 9.41.010(5), 9.41.220.



                        Table 3: Laws Banning Silencers

The following jurisdictions ban the possession of silencers, suppressors, and other
accessories designed to mitigate the sound of discharging a weapon as part of their
firearm safety laws.

 Jurisdiction               Jurisdictional Law

        California          Cal. Penal Code § 33410.


        Delaware            Del. Code tit. 11, §§ 1444(a)(3), (b)(1).


   District of Columbia     D.C. Code Ann. § 22-4514(a).


         Hawaii             Haw. Rev. Stat. Ann. §§ 134-1, 134-8(a).


          Illinois          720 Ill. Comp. Stat. 5/24-1(a)(6).


      Massachusetts         Mass. Gen. Laws ch. 269, § 10A.


       New Jersey           N.J. Stat. Ann. §§ 2C:39-1(g), 2C:39-3(c).


        New York            N.Y. Penal Law § 265.02(2).


      Rhode Island          R.I. Gen. Laws § 11-47-20.



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                      Table 4: Laws Restricting Silencers

The following jurisdictions restrict the possession of silencers, suppressors, and
other accessories designed to mitigate the sound of discharging a weapon as part of
their firearm safety laws.

 Jurisdiction               Jurisdictional Law

         Federal            18 U.S.C. § 921(a)(3); 26 U.S.C. §§ 5841(a),
                            5845(a)(7), 5861.

          Alaska            Alaska Stat. §§ 11.61.200(a)(3), (c), (h)(1)(B).


         Arizona            Ariz. Rev. Stat. Ann. §§ 13-3101(A)(8)(a)(ii), 13-
                            3102(A)(3), 17-251.

        Colorado            Colo. Rev. Stat. § 18-12-102.


       Connecticut          Conn. Gen. Stat. § 53a-211.


         Georgia            Ga. Code Ann. §§ 16-11-121(7), 16-11-122.


           Iowa             Iowa Code § 724.1B.


         Kansas             Kan. Stat. Ann. § 21-6301(a)(4).


        Michigan            Mich. Comp. Laws §§ 750.224(1)(b), (3)(c).


        Missouri            Mo. Rev. Stat. § 571.020(1.6)(c).


        Montana             Mont. Code Ann. § 45-8-337.




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         Nevada             Nev. Rev. Stat. Ann. § 202.350(1)(b).


     North Carolina         N.C. Gen. Stat. § 14-288.8.


      North Dakota          N.D. Cent. Code § 62.1-05-01.


           Ohio             Ohio Rev. Code Ann. §§ 2923.11(K)(5), 2923.17(A),
                            (C)(5).

         Oregon             Or. Rev. Stat. § 166.272.


      Pennsylvania          18 Pa. Cons. Stat. § 908.


      South Dakota          S.D. Codified Laws §§ 22-1-2(8), (17), 22-14-6.


         Vermont            Vt. Stat. Ann. tit. 13, § 4010.


       Washington           Wash. Rev. Code § 9.41.250(1)(c).


        Wisconsin           Wis. Stat. § 941-298.



                Table 5: Laws Banning Armor-Piercing Ammunition

The following jurisdictions ban the possession of ammunition designed to
penetrate body armor or vehicle armor as part of their firearm safety laws.

 Jurisdiction               Jurisdictional Law

         Federal            18 U.S.C. §§ 921(a)(17)(B)-(C), 922(a)(7)-(8).




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        Alabama           Ala. Code § 13A-11-60(a).


       California         Cal. Penal Code §§ 16660, 30315, 30320.


       Connecticut        Conn. Gen. Stat. §§ 53-202l(a)(1), (b)-(c).


   District of Columbia   D.C. Code Ann. §§ 7-2501.01(13A)(A)(i), 7-
                          2506.01(a)(3).

         Florida          Fla. Stat. §§ 790.31(1)(a), (2)(a)-(c).


         Hawaii           Haw. Rev. Stat. Ann. § 134-8(a).


         Illinois         720 Ill. Comp. Stat. 5/24-2.1, 5/24-2.2.


         Indiana          Ind. Code Ann. § 35-47-5-11.5.


         Kansas           Kan. Stat. Ann. § 21-6301(a)(6).


        Kentucky          Ky. Rev. Stat. Ann. §§ 237.060(7), 237.080.


        Louisiana         La. Rev. Stat. Ann. §§ 40:1810-40:1812.


         Maine            Me. Rev. Stat. Ann. tit. 17-A, § 1056.


        Michigan          Mich. Comp. Laws § 750.224c.


         Nevada           Nev. Rev. Stat. Ann. § 202.273.



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       New Jersey          N.J. Stat. Ann. §§ 2C:39-1(gg), 2C:39-3(f).


     North Carolina        N.C. Gen. Stat. § 14-34.3.


        Oklahoma           Okla. Stat. tit. 21, §§ 1289.19-1289.22.


      Rhode Island         R.I. Gen. Laws § 11-47-20.1.


     South Carolina        S.C. Code Ann. § 16-23-520.


          Texas            Tex. Penal Code §§ 46.01(12), 46.05(a)(2).


      Virgin Islands       V.I. Stat. tit. 14, §§ 2256(b)-(c).



                 Table 6: Laws Banning Explosive Ammunition

The following jurisdictions ban the possession of high-explosive incendiary
ammunition designed to explode or impart energy upon contact via a charge as
part of their firearm safety laws.

 Jurisdiction              Jurisdictional Law

        California         Cal. Penal Code § 30210.


         Florida           Fla. Stat. §§ 790.31(1)(b), (2)(a)-(c).


         Hawaii            Haw. Rev. Stat. Ann. § 134-8(a).


          Illinois         720 Ill. Comp. Stat. 5/24-1(a)(11), 5/24-3.1(a)(6).



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           Iowa              Iowa Code §§ 724.1(1)(f), 724.3.


        Missouri             Mo. Rev. Stat. § 571.020(1.4).


        New York             N.Y. Penal Law § 265.01(7).


        Tennessee            Tenn. Code Ann. § 39-17-1304(b).


      Virgin Islands         V.I. Stat. tit. 14, §§ 2256(b)-(c).



                     Table 7: Laws Banning Large-Caliber Ammo

The following jurisdictions ban the possession of large-caliber ammunition as part
of their firearm safety laws.

 Jurisdiction                Jurisdictional Law

        California           Cal. Penal Code § 18735.


       Connecticut           Conn. Gen. Stat. §§ 53-202l(a)(2), (b)-(c).


   District of Columbia      D.C. Code Ann. §§ 7-2501.01(13A)(A)(iii), 7-
                             2506.01(a)(3).

          Illinois           720 Ill. Comp. Stat. 5/24-1(a)(11), 5/24-1.9(a)(6), (b),
                             (c) (possession ban effective Jan. 1, 2024).




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                     Table 8: Law Banning Hollow-Point Bullets

The following state bans the possession of hollow-point and other ammunition
designed to expand on impact as part of its firearm safety laws.

 State                       State Law

         New Jersey          N.J. Stat. Ann. § 2C:39-3(f).



                      Table 9: Laws Banning Flechette Ammo

The following states ban the possession of flechette shells, or other ammunition
that can be fired in a firearm and that expels two or more pieces of fin-stabilized
solid metal wire or two or more solid dart-type projectiles, as part of their firearm
safety laws.

 State                       State Law

         California          Cal. Penal Code §§ 16570, 30210.


          Florida            Fla. Stat. §§ 790.31(1)(f), (2)(a)-(c).


          Illinois           720 Ill. Comp. Stat. 5/24-2.1, 5/24-2.2.



           Table 10: Laws Banning Dragon’s Breath and Bolo Shells
The following states ban the possession of “Dragon’s Breath” shells, ammunition
that when fired produces sparks and flames simulating a flamethrower, and bolo
shells, ammunition containing two or more large lead balls connected by a wire,
that when used may sever a target’s limb, as part of their firearm safety laws.

 State                       State Law

          Florida            Fla. Stat. §§ 790.31(1)(d)-(e), (2)(a)-(c).


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          Illinois           720 Ill. Comp. Stat. 5/24-2.1, 5/24-2.2.


           Iowa              Iowa Code §§ 724.1(1)(f), 724.2, 724.3.



                          Table 11: Assault Weapon Bans

The following jurisdictions ban the possession or sale of assault weapons as part
of their firearm safety laws.

 Jurisdiction                Jurisdictional Law

        California           Cal. Penal Code §§ 30500-30515, 30600, 30605.


       Connecticut           Conn. Gen. Stat. §§ 53-202a-202c.


        Delaware             Del. Code tit. 11, §§ 1465-1466(a).


   District of Columbia      D.C. Code Ann. §§ 7-2501.01(3A), 7-2502.01, 7-
                             2502.02(a)(6).

         Hawaii              Haw. Rev. Stat. Ann. §§ 134-1, 134-4, 134-8(a).


          Illinois           720 Ill. Comp. Stat. 5/24-1.9.


        Maryland             Md. Code Ann., Crim. Law §§ 4-301, 4-303.


      Massachusetts          Mass. Gen. Laws ch. 140, §§ 121, 131M.


        New York             N.Y. Penal Law §§ 265.00(22), 265.02(7).




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       Washington            Wash. Rev. Code §§ 9.41.0001, 9.41.010(2), 9.41.240
                             (2023 Wash. Sess. Laws, ch. 162, § 1).


                     Table 12: Laws Banning Automatic Weapons

The following jurisdictions ban automatic weapons as part of their firearm safety
laws.

 Jurisdiction                Jurisdictional Law

        California           Cal. Penal Code § 32625.


        Colorado             Colo. Rev. Stat. § 18-12-102.


        Delaware             Del. Code tit. 11, §§ 1444(a)(5), (b)(1).


   District of Columbia      D.C. Code Ann. §§ 7-2501.01(10), 7-2502.01,
                             7-2502.02(a)(2).

         Hawaii              Haw. Rev. Stat. Ann. § 134-8(a).


          Illinois           720 Ill. Comp. Stat. 5/24-1(a)(7)(i).


           Iowa              Iowa Code §§ 724.1(a), 724.3.


        Louisiana            La. Rev. Stat. Ann. §§ 40:1751 to 40:1752.


     Massachusetts           Mass. Gen. Laws ch. 140, §§ 121, 131(o);
                             Mass. Gen. Laws ch. 269, § 10(c).

        Minnesota            Minn. Stat. § 609.67.



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        New York            N.Y. Penal Law § 265.02(2).


      Rhode Island          R.I. Gen. Laws § 11-47-8(a).


        Wisconsin           Wis. Stat. § 941.26(1g)(a).



   Table 13: Laws Requiring Registration of Pre-1986 Automatic Weapons

The following jurisdictions require that all automatic weapons manufactured
before 1986 be registered with a licensing agency as part of their firearm safety
laws.

 Jurisdiction               Jurisdictional Law

         Federal            18 U.S.C. §§ 921(a)(24), 922(o); 26 U.S.C. §
                            5845(b).

          Alaska            Alaska Stat. Ann. §§ 11.61.200(a)(3), (h)(1)(C).


         Arizona            Ariz. Rev. Stat. Ann. §§ 13-3101(A)(8)(a)(iii), 13-
                            3102(A)(3).

       Connecticut          Conn. Gen. Stat. § 53-202.


         Florida            Fla. Stat. §§ 790.001(9), 790.221.


         Georgia            Ga. Stat. §§ 16-11-121(2), 16-11-122, 16-11-124(4).


         Indiana            Ind. Code Ann. §§ 35-47-5-8 to 35-47-5-8-10.


         Kansas             Kan. Stat. Ann. § 21-6301(a)(5).



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         Maine           Me. Rev. Stat. Ann. tit. 17-A, §§ 1051-1052.


       Maryland          Md. Code Ann. §§ 4-401 to 4-405.


        Michigan         Mich. Comp. Laws §§ 750.224(1)(a), (3)(c).


        Missouri         Mo. Rev. Stat. § 571.020(1.6)(a).


        Montana          Mont. Code Ann. §§ 45-8-302 to 45-8-304.


       Nebraska          Neb. Rev. Stat. § 28-1203.


        Nevada           Nev. Rev. Stat. Ann. § 202.350(1)(b).


       New Jersey        N.J. Stat. Ann. §§ 2C:39-1(i), 2C:39-5(a), 2C:39-9(a).


     North Carolina      N.C. Gen. Stat. § 14-288.8.


      North Dakota       N.D. Cent. Code § 62.1-05-01.


          Ohio           Ohio Rev. Code Ann. §§ 2923.11(K)(1), 2923.17.


        Oregon           Or. Rev. Stat. § 166.272.


      Pennsylvania       18 Pa. Cons. Stat. Ann. § 908.


     South Carolina      S.C. Code Ann. §§ 16-23-230 to 16-23-250.




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      South Dakota          S.D. Codified Laws §§ 22-1-2(8), (23), 22-14-6.


        Tennessee           Tenn. Code Ann. §§ 39-17-1302(a)(3), (d).


          Texas             Tex. Penal Code §§ 46.01(9), 46.05(a)(1)(B).


         Virginia           Va. Code §§ 18.2-288 to 18.2-298.


       Washington           Wash. Rev. Code §§ 9.41.010(29), 9.41.190.


      West Virginia         W. Va. Code § 61-7-9.



          Table 14: Laws Banning Short-Barreled Shotguns or Rifles

The following jurisdictions ban possession of short-barreled shotguns or short-
barreled rifles as part of their firearm safety laws.

 Jurisdiction               Jurisdictional Law

        California          Cal. Penal Code §§ 33210, 33215.


        Colorado            Colo. Rev. Stat. § 18-12-102.


        Delaware            Del. Code tit. 11, §§ 1444(a)(4), (b)(1).


   District of Columbia     D.C. Code Ann. §§ 7-2501.01(15), (17), 7-2502.01,
                            7-2502.02(a)(1), (a)(3).

         Hawaii             Haw. Rev. Stat. Ann. §§ 134-1, 134-8(a).




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          Illinois          720 Ill. Comp. Stat. 5/24-1(a)(7)(ii).


      Massachusetts         Mass. Gen. Laws ch. 140, § 121; Mass. Gen. Laws
                            ch. 269, § 10(c).

        Minnesota           Minn. Stat. § 609.67.


       New Jersey           N.J. Stat. Ann. §§ 2C:39-1(o), 2C:39-3(b).


      Rhode Island          R.I. Gen. Laws §§ 11-47-2(15) to 11-47-2(16), 11-47-
                            8(b).


         Table 15: Laws Restricting Short-Barreled Shotguns or Rifles

The following jurisdictions restrict the possession of short-barreled shotguns or
short-barreled rifles as part of their firearm safety laws.

 Jurisdiction               Jurisdictional Law

         Federal            18 U.S.C. §§ 921(a)(6), 921(a)(8), 922(a)(4).


          Alaska            Alaska Stat. Ann. §§ 11.61.200(a)(3), (h)(1)(D).


         Arizona            Ariz. Rev. Stat. Ann. §§ 13-3101(A)(8)(a)(iv), 13-
                            3102(A)(3).

       Connecticut          Conn. Gen. Stat. § 53a-211.


         Florida            Fla. Stat. §§ 790.001(10)-(11), 790.221.


         Georgia            Ga. Stat. §§ 16-11-121(4)-(5), 16-11-122, 16-11-
                            124(4).


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          Iowa           Iowa Code § 724.1C.


         Kansas          Kan. Stat. Ann. § 21-6301(a)(5).


        Michigan         Mich. Comp. Laws § 750.224b.


        Missouri         Mo. Rev. Stat. § 571.020(1.6)(b).


        Montana          Mont. Code Ann. § 45-8-340.


       Nebraska          Neb. Rev. Stat. § 28-1203.


        Nevada           Nev. Rev. Stat. Ann. § 202.275.


       New Jersey        N.J. Stat. Ann. §§ 2C:39-1(i), 2C:39-5(a), 2C:39-9(a).


     North Carolina      N.C. Gen. Stat. § 14-288.8.


      North Dakota       N.D. Cent. Code § 62.1-02-03.


          Ohio           Ohio Rev. Code Ann. §§ 2923.11(K)(1), 2923.17.


        Oregon           Or. Rev. Stat. § 166.272.


      Pennsylvania       18 Pa. Cons. Stat. Ann. § 908.


     South Carolina      S.C. Code Ann. §§ 16-23-230 to 16-23-250.




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      South Dakota          S.D. Codified Laws §§ 22-1-2(8), (46), 22-14-6.


          Texas             Tex. Penal Code §§ 46.01(10), 46.05(a)(1)(C).


       Washington           Wash. Rev. Code §§ 9.41.010(41)-(42), 9.41.190.


        Wisconsin           Wis. Stat. § 941-28.



      Table 16: Laws Banning 50-Caliber and Other High-Caliber Rifles

The following jurisdictions ban possession of rifles designed to shoot 50-Caliber
and other High-Caliber ammunition.

 Jurisdiction               Jurisdictional Law

        California          Cal. Penal Code §§ 30530, 30600, 30610.


   District of Columbia     D.C. Code Ann. §§ 7-2501.01(8A), 7-2502.01, 7-
                            2502.02(a)(7).

          Illinois          720 Ill. Comp. Stat. 5/24-1(a)(15)-(16), 5/24-1.9.


       New Jersey           N.J. Stat. Ann. §§ 2C:39-1(c)(3), (5), 2C:39-3(a).



                     Table 17: Laws Banning Covert Weapons

The following jurisdictions ban possession of covert and hidden firearms as part of
their firearm safety laws.

 Jurisdiction               Jurisdictional Law



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        Alabama             Ala. Code § 13A-11-54.


        California          Cal. Penal Code § 24410.


     Massachusetts          Mass. Gen. Laws ch. 140, § 131N.


       New Jersey           N.J. Stat. Ann. §§ 2C:39-1(hh), 2C:39-3(m).


        New York            N.Y. Penal Law § 265.02(6).



                   Table 18: Laws Banning Destructive Devices

The following jurisdictions ban the possession of grenades, rocket launchers,
bombs, and other destructive devices as part of their firearm safety laws.

 Jurisdiction               Jurisdictional Law

        California          Cal. Penal Code §§ 16460, 18710.


        Colorado            Colo. Rev. Stat. § 18-12-109(2)(a).


       Connecticut          Conn. Gen. Stat. § 53-80(a).


        Delaware            Del. Code Ann. tit. 11, §§ 1444(a)(1), (b)(1).


   District of Columbia     D.C. Code § 22-4515a.


         Florida            Fla. Stat. §§ 790.001(4), 790.161.




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         Hawaii         Haw. Rev. Stat. Ann. § 134-8(a).


         Illinois       720 Ill. Comp. Stat. 5/24-1(a)(7)(iii).


          Iowa          Iowa Code §§ 101A.1(2A), 724.1(1)(c), 724.3.


     Massachusetts      Mass. Gen. Laws ch. 266, § 102(c).


       Minnesota        Minn. Stat. § 609.668.


       New Jersey       N.J. Stat. Ann. §§ 2C:39-1(c)(1), 2C:39-3(a).


       New York         N.Y. Penal Law § 265.02(2).


        Oregon          Or. Rev. Stat. § 480.070.


      Pennsylvania      18 Pa. Cons. Stat. Ann. §§ 908(a), (c).


      Rhode Island      R.I. Gen. Laws §§ 11-47.1-21.


          Utah          Utah Code Ann. § 76-10-306(3).


        Virginia        Va. Code Ann. § 18.2-85.


       Wisconsin        Wis. Stat. § 941.26(2)(c).




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